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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


                                                       Case No. 19-cv-01339
 IN RE KRAFT HEINZ SECURITIES
 LITIGATION
                                                       The Honorable Robert M. Dow, Jr.



   AMENDED NOTICE OF PLAINTIFFS’ UNOPPOSED MOTION TO FILE UNDER
                               SEAL

       PLEASE TAKE NOTICE that on August 3, 2022, at 9:15 a.m., or as soon thereafter as

counsel may be heard, counsel for Lead Plaintiffs Sjunde AP-Fonden and Union Asset

Management Holding AG, and additional named Plaintiff Booker Enterprises Pty Ltd.

(collectively, “Plaintiffs”), shall appear before the Honorable Robert M. Dow, Jr., in Courtroom

2303 of the Dirksen Federal Building, 219 South Dearborn Street, Chicago, Illinois, and present

Plaintiffs’ Unopposed Motion to File Under Seal.



Dated: July 29, 2022


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